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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                   §
 SOVEREIGN PEAK VENTURES, LLC,                     §
                                                   §
         Plaintiff,                                §
                                                   §      JURY TRIAL DEMANDED
 v.                                                §
                                                   §
 HEWLETT PACKARD ENTERPRISE                        §      C.A. NO. 2:23-cv-00009
 COMPANY,                                          §
                                                   §
         Defendant.                                §
                                                   §

       PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Sovereign Peak Ventures, LLC (“SPV”) files this Original Complaint against

Defendant Hewlett Packard Enterprise Company (“Defendant” or “HPE”) for infringement of U.S.

Patent No. 7,796,512 (the “’512 patent”), U.S. Patent No. 8,045,531 (the “’531 patent”), U.S.

Patent No. 8,270,384 (the “’384 patent”), and U.S. Patent No. 8,467,723 (the “ʼ723 patent”),

collectively, the “Asserted Patents.”

                                        THE PARTIES

       1.      Sovereign Peak Ventures, LLC is a Texas limited liability company, with a

principal place of business in Allen, TX.

       2.      On information and belief, Defendant Hewlett Packard Enterprise Company

(“HPE”) is a Delaware corporation that maintains regular and established places of business

throughout Texas, for example, at its facilities in this District at 6080 Tennyson Parkway, Suite

400, Plano, TX 75024. HPE is registered to conduct business in the State of Texas and has

appointed CT Corporation System, located at 1999 Bryan ST., Ste. 900, Dallas, TX 75201 as its

agent for service of process.


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        3.      HPE is a multinational information technology company and develops and sells

networking equipment and related supplies. HPE sells its products to customers, including

customers in this District, in the enterprise electronics markets.

        4.      HPE operates and owns the hpe.com website, and markets, offers, distributes, and

provides technical support for its computer products throughout the United States including in this

District.

        5.      HPE develops, designs, manufactures, distributes, markets, offers to sell, and/or

sells infringing products and services within the United States, including in this District, and

otherwise purposefully directs infringing activities to this District in connection with its Plano,

Texas office; its hpe.com website; and its other places of business in Texas and the rest of the

United States. Defendant participates in the design, development, manufacture, sale for

importation into the United States, offers for sale for importation into the United States,

importation into the United States, sale within the United States after importation, and offers for

sale within the United States after importation, of networking equipment that infringe the Asserted

Patents.

        6.      On information and belief, Defendant is engaged in making, using, selling, offering

for sale, and/or importing, and/or inducing its subsidiaries, affiliates, retail partners, and customers

in the making, using, selling, offering for sale, and/or importing throughout the United States,

including within this District, products, such as networking equipment, accused of infringement.

        7.      The Asserted Patents were invented by employees of Panasonic Corporation

(“Panasonic”). Founded in 1918, Panasonic has been at the forefront of the electronics industry for

over a century. Panasonic made numerous innovations in the home appliance, battery, mobile

phone, and television industries. Indeed, Panasonic’s invention of the “Paper Battery” in 1979 is



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widely credited as enabling the compact electronics of today. In 1991, Panasonic released the

Mova P, the smallest and lightest mobile phone on the market, which revolutionized the industry

by showing the demand for a compact, lightweight device. Panasonic also produced the first wide-

format plasma display and developed the first digital television for the U.S. market. Panasonic’s

history of innovation is also borne out by its intellectual property. Indeed, a search of the USPTO

database where the patent assignee is “Panasonic” yields over 27,000 matches.

       8.      Prior to the filing of the Complaint, SPV attempted to engage HPE and/or its agents

in good faith licensing discussions related to the Asserted Patents, including via letter dated April

19, 2022, and thereafter by conducting technical and licensing discussions with employees from

HPE’s in-house legal department responsible for patent matters. HPE’s past and continuing sales

of its devices i) willfully infringe the Asserted Patents and ii) impermissibly take the significant

benefits of SPV’s patented technologies without fair compensation to SPV.

       9.      Through offers to sell, sales, imports, distributions, and other related agreements to

transfer ownership of Defendant’s electronics, such as networking equipment, with distributors

and customers operating in and maintaining a significant business presence in the U.S. and/or its

U.S. subsidiaries Defendants does business in the U.S., the state of Texas, and in this District.

                                 JURISDICTION AND VENUE

       10.     This action arises under the patent laws of the United States, namely 35 U.S.C. §§

271, 281, and 284-285, among others.

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       12.     This Court has personal jurisdiction over HPE in accordance with due process

and/or the Texas Long Arm Statute because, in part, HPE “recruits Texas residents, directly or



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through an intermediary located in this state, for employment inside or outside this state.” TEX.

CIV. PRAC. & REM. CODE § 17.042(3).

       13.     This Court has personal jurisdiction over HPE because HPE has engaged, and

continues to engage in continuous, systematic, and substantial activities within this State, including

the substantial marketing and sale of products within this State and this District. Furthermore, upon

information and belief, this Court has personal jurisdiction over HPE because HPE has committed

acts giving rise to SPV’s claims for patent infringement within and directed to this District.

       14.     For example, HPE is subject to personal jurisdiction in this Court because, inter

alia, it has regular and established places of business in this District, including offices and data

centers located at 6080 Tennyson Parkway, Suite 400, Plano, TX 75024. The Collin County

Central Appraisal District (CAD) website indicates that HPE owns multiple places of business in

this District including property at 2300 Chelsea Blvd., Allen, TX 75013.

       15.     HPE’s offices in the District are regular and established places of business at least

because these locations include many members of HPE’s important teams, including Engineering,

Technical Consultants, Business Managers, IT Managers for Finance Systems, 5G Core Product

Management, and Sales Representatives. HPE’s website currently lists over a dozen job postings

for its Plano office. HPE employees in the District are highly specialized and are important to the

operation of HPE.

       16.     HPE, directly and through its agents, regularly conducts, solicits, and transacts

business in this District and elsewhere in Texas, including through its hpe.com website. For

example, HPE employs sales and marketing employees that regularly sell, offer to sell, or

otherwise distribute networking equipment in this District and elsewhere in Texas.




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        17.     HPE has committed and continues to commit acts of infringement in violation of

35 U.S.C. § 271, and has made, used, marketed, distributed, offered for sale, and sold infringing

products in Texas, including in this District, and engaged in infringing conduct within and directed

at or from this District. The infringing networking equipment have been and continue to be

distributed to and used in this District. HPE’s acts cause injury to SPV, including injury suffered

within this District.

        18.     Moreover, on information and belief, HPE has previously litigated patent

infringement cases before this Court without contesting jurisdiction and venue.

        19.     Exercising personal jurisdiction over HPE in this District would not be

unreasonable given Defendant’s contacts in this District, the interest in this District of resolving

disputes related to products sold herein, and the harm that would occur to SPV.

        20.     In addition, HPE has knowingly induced and continues to knowingly induce

infringement within this District by advertising, marketing, offering for sale and/or selling devices

pre-loaded with infringing functionality within this District, to consumers, customers,

manufacturers, distributors, resellers, partners, and/or end users, and providing instructions, user

manuals, advertising, and/or marketing materials which facilitate, direct or encourage the use of

infringing functionality with knowledge thereof.

        21.     Personal jurisdiction also exists specifically over HPE because it, directly or

through affiliates, subsidiaries, agents, or intermediaries, transacts business in this State or

purposefully directed at this State (including, without limitation, retail stores including Best Buy

and Walmart) by making, importing, offering to sell, selling, and/or having sold infringing

products within this State and District or purposefully directed at this State or District.




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        22.      Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

because HPE has committed acts of infringement in this District and have a regular and established

place of business in this District.

        23.      With respect to the ’512 patent, the Accused Products comprise wireless access

points that are configured to support 802.11k/r, where such devices include, but are not limited to,

Aruba Indoor APs: 500 Series, 510 Series, 530 Series, 550 Series, 630 Series, 650 Series, 340

Series (802.11ac -Wave 2), 303 Series (802.11ac -Wave 2), Outdoor APs: 518 Series, 560 Series,

560EX Series, 570 Series, 570EX Series, 580 Series, 580EX Series, 360 Series (802.11ac -Wave

2), 370 Series (802.11ac -Wave 2), 370EX Series (802.11ac -Wave 2), Aruba Remote APs: 500H

Series, 303 H Series (802.11ac Wave 2); Aruba Instant On APs: Instant On AP22, Instant On AP11

(802.11ac Wave 2), Instant On AP12(802.11ac Wave 2), Instant On AP15 (802.11ac Wave 2),

Instant On AP11D (802.11ac Wave 2), Instant On AP17 (802.11ac Wave 2), as well as, their

components, and processes related to the same.

        24.      With respect to the ʼ531 patent, the Accused Products comprise networking

equipment that are configured to use the Aruba Central management platform, such systems

include, but are not limited to, systems deployed using the Aruba Mobility controller and Aruba

access points.

        25.      With respect to the ʼ384 patent, the Accused Products comprise wireless access

points that are configured to establish connections with a controller and exchange information

about the separation of functions between themselves and the controller, such systems include, but

are not limited to AP-567EX, AP-567, AP-565EX, AP-577EX, AP-575EX, AP-577, AP-565, AP-

503H, AP-655, AP-635, AP-575, AP-574, AP-518, AP-505H, AP-505, AP-504, AP-555, AP-535,



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AP-534, AP-375EX, AP-515, AP-514, AP-387, AP-303P, AP-377EX, AP-377, AP-375, AP-374,

AP-345, AP-344, AP-318, AP-303, AP-203H, AP-367, AP-365, AP-303HR, AP-303H, AP-

203RP, AP-203R, IAP-305, IAP-304, IAP-207, IAP-335, IAP-334, IAP-315, IAP-314, IAP-325,

IAP-324, IAP-277, IAP-228, IAP-205H, 1AP-215, IAP-214, IAP-205, IAP-204, IAP-275, IAP-

274, IAP-103, IAP-225, IAP-224, IAP-115, IAP-114, RAP-155P, RAP-155, RAP-109, RAP-108,

RAP-3WN, RAP-3WNP.

       26.     With respect to the ’723 patent, the Accused Products comprise LTE-enabled

devices that are configured to perform inter-RAT handovers and/or establish a secure tunnel to

trusted packet gateways, where such devices include, but are not limited to, the Aruba 9004-LTE

Gateway, the Aruba USB LTE Modem, the Aruba SD-WAN Backpack LTE Solution, as well as,

their components, and processes related to the same.

       27.     On information and belief, HPE has placed and continues to place infringing

products and/or products that practice infringing processes into the stream of commerce via

established distribution channels, with the knowledge and/or intent that those products are and/or

will be imported, used, offered for sale, sold, and continue to be sold in the United States and

Texas, including in this judicial district. As a result, HPE has, vicariously through and/or in concert

with its alter egos, agents, intermediaries, distributors, importers, customers, subsidiaries, and/or

consumers, placed the Accused Products into the stream of commerce via established distribution

channels with the knowledge and/or intent that those products were sold and continue to be sold

in the United States and Texas, including in this judicial district.

                                             COUNT I
                     (INFRINGEMENT OF U.S. PATENT NO. 7,796,512)

       28.     Plaintiff incorporates the preceding paragraphs herein by reference.




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          29.   SPV is the assignee of the ’512 patent, entitled “Switching source device,

switching destination device, high speed device switching system, and signaling method,” with

ownership of all substantial rights in the ’512 patent, including the right to exclude others

and to enforce, sue, and recover damages for past and future infringements.

          30.   The ’512 patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code. The ’512 patent issued from U.S. Patent Application No.

11/908,354.

          31.   HPE has and continues to directly and/or indirectly infringe (by inducing

infringement) one or more claims of the ’512 patent in this judicial district and elsewhere in Texas

and the United States.

          32.   HPE designs, develops, manufactures, assembles and markets wireless access

points that are configured to support 802.11k/r.

          33.   HPE directly infringes the ʼ512 patent via 35 U.S.C. § 271(a) by making, offering

for sale, selling, and/or importing those Accused Products, their components and processes, and/or

products containing the same that incorporate the fundamental technologies covered by the ’512

patent.

          34.   For example, HPE infringes claim 1 of the ’512 patent via the Accused Products,

which are configured to support 802.11k/r.

          35.   The Accused Products comprise “a switching source device for moving a session

established with a communication counterpart to a switching destination device” that satisfies the

limitations of claim 1. For example, the Accused Products support 802.11k/r, such as the Accused

Products, act as switching source devices for moving a session with connected clients to switching

destination devices, or APs to which the client may choose to roam. Further, the Accused Products



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use 802.11r (Fast Basic Service Set (BSS) Transition (FT)), which reduces the latency experienced

by AP-roaming clients and allows mobile clients to experience “seamless transitions.”




       36.    The Accused Products comprise “a service discovery section for obtaining

information as to whether a service can be provided from a neighboring communication device.”

For example, the Accused Products are configured to use a service discovery section for obtaining

the information used to compile a neighbor report.




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        Further, the service discovery section may obtain information about neighboring

 communication devices from measurement reports or from background scans. Further, the ability

 of the Accused Products to conduct load balancing and band steering operations among clients and

 other HPE-Aruba APs is evidence that these Accused Products are aware of their RF environment.




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        37.     The Accused Products comprise “a high speed device switching section for

 instructing the service discovery section at an arbitrary timing to inquire whether a service can be

 provided, determining a switching destination candidate device that is a switching destination of a

 session based on the obtained information as to whether the service can be provided, generating a

 switching destination candidate device list describing the switching destination candidate devices,

 and making an instruction for establishing a session with the switching destination candidate

 device.” For example, the Accused Products are configured to instruct their respective service

 discovery sections to inquire whether a service can be provided by requesting beacon reports from

 connected clients at arbitrary times.




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 The Accused Products are configured to determine switching destination candidate APs using

 information obtained by the service discovery sections. This determination may be made based on

 the BSSID of a known AP, or based on information relating to an AP’s settings and capabilities.




 The Accused Products are configured to generate a neighbor list, describing the switching

 candidate APs.




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 The Accused Products are configured to make an instruction for establishing a session with the

 switching destination candidate device. For example, the Neighbor Report element for each

 neighbor contains the AP’s respective BSSID, which is used to subsequently establish a Fast

 Transition session with that AP.




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        38.     The Accused Products comprise “a signaling section for establishing a session with

 the switching destination candidate device when the instruction for establishing a session is

 received from the high speed device switching section.” For example, the Remote Request Broker

 (RRB) of an Accused Product establishes a session, over the DS, with the switching destination

 candidate device (target AP).




        39.     The Accused Products comprise “an input section for receiving a switching

 destination candidate device list request from a user.” For example, the Accused Products include

 an input section for receiving, e.g., neighbor report requests from connected users’ devices.




        40.     The Accused Products comprise “an output section for presenting the switching

 destination candidate device list when the high speed device switching section receives the

 switching destination candidate device list request through the input section. For example, the



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 Accused Products include an output section for presenting the neighbor report to a connected

 client, in response to a neighbor report request.




        41.     The high-speed device switching section is configured such that when it “receives

 a device switching request from a user through the input section, it notifies the signaling section

 of the device selected from the switching candidate device list, and the signaling section sends a

 switching instruction to the selected device.” For example, when an Accused Product receives a

 switching request (FT Action Request) from a user’s device, it sends a Remote Request to the

 Target AP.




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 The Remote Request message contains a switching instruction, including, e.g., instructions for the

 robust security network (RSN) association.




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        42.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        43.     At a minimum, HPE has known of the ’512 patent at least as early as the filing date

 of the complaint. In addition, HPE has known about the ʼ512 patent since at least August 19, 2022

 when HPE was given access to a data room providing notice of its infringement.

        44.     On information and belief, since at least the above-mentioned date when HPE was

 on notice of its infringement, HPE has actively induced, under U.S.C. § 271(b), its distributors,

 customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the Accused

 Products that include or are made using all of the limitations of one or more claims of the ’512

 patent to directly infringe one or more claims of the ’512 patent by using, offering for sale, selling,

 and/or importing the Accused Products. Since at least the notice provided on the above-mentioned

 date, HPE does so with knowledge, or with willful blindness of the fact, that the induced acts

 constitute infringement of the ’512 patent. HPE intends to cause, and has taken affirmative steps

 to induce infringement by its distributors, importers, customers, subsidiaries, and/or consumers by

 at least, inter alia, creating advertisements that promote the infringing use of the Accused Products,

 creating and/or maintaining established distribution channels for the Accused Products into and

 within the United States, manufacturing the Accused Products in conformity with U.S. laws and

 regulations, distributing or making available instructions or manuals for these products to

 purchasers and prospective buyers, testing and certifying wireless networking features in the

 Accused Products, and/or providing technical support, replacement parts, or services for these

 products to these purchasers in the United States.

        45.     In the alternative, on information and belief, since at least the above-mentioned date

 when HPE was on notice of its infringement, HPE has contributorily infringed, under U.S.C. §



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 271(c), one or more claims of the ’512 patent. For example, HPE contributes to the direct

 infringement of such claims by distributors, customers, subsidiaries, importers, and/or consumers

 that use, import, purchase, or sell the Accused Products. To the extent that the Accused Products

 do not directly infringe one or more claims of the ʼ512 patent, such products contain instructions,

 such as source code, that are especially adapted to cause the Accused Products to operate in an

 infringing manner. Such instructions are specifically designed to cause the Accused Products to

 provide and utilize neighbor reports in an infringing manner and are a material part of the invention

 of the ʼ512 patent and are not a staple article of commerce suitable for substantial non-infringing

 use.

        46.     On information and belief, despite having knowledge of the ’512 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’512 patent,

 HPE has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. HPE’s infringing activities relative to the ’512 patent have been, and

 continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,

 characteristic of a pirate, and an egregious case of misconduct beyond typical infringement such

 that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three times the amount

 found or assessed.

        47.     SPV has been damaged as a result of HPE’s infringing conduct described in this

 Count. HPE is, thus, liable to SPV in an amount that adequately compensates SPV for HPE’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                             COUNT II
                      (INFRINGEMENT OF U.S. PATENT NO. 8,045,531)

        48.     Plaintiff incorporates the preceding paragraphs herein by reference.


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           49.   SPV is the assignee of the ’531 patent, entitled “System and method for

 negotiation of WLAN entity,” with ownership of all substantial rights in the ’531 patent,

 including the right to exclude others and to enforce, sue, and recover damages for past and

 future infringements.

           50.   The ’531 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’531 patent issued from U.S. Patent Application No.

 10/591,184.

           51.   HPE has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’531 patent in this judicial district and elsewhere in Texas

 and the United States.

           52.   HPE designs, develops, manufactures, assembles and markets networking

 equipment that is configured to use the Aruba Central management platform.

           53.   HPE directly infringes the ʼ531 patent via 35 U.S.C. § 271(a) by making, offering

 for sale, selling, and/or importing those Accused Products, their components and processes, and/or

 products containing the same that incorporate the fundamental technologies covered by the ’531

 patent.

           54.   For example, HPE infringes claim 1 of the ʼ531 patent via the Accused Products,

 which are configured to use the Aruba Central management platform.

           55.   The Accused Products comprise a “system for providing service in a wireless local

 area network” that satisfies the limitations of claim 1. For example, The Accused Products with

 Aruba Central-managed access points is a system for providing service in a wireless local area

 network. The Accused Products are configured such that traffic flows between an Aruba mobility

 controller (control node) and one or Aruba wireless access points (WAPs).



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 Source: https://www.arubanetworks.com/assets/ds/DS_ArubaOS.pdf

        56.    The Accused Products comprise “a single or plurality of wireless access points

 (WAP) for processing a subset of complete functionality defined for the wireless local area

 network.” For example, the Accused Products comprise one or more controller-managed APs

 (WAPs). Implicated Aruba AP models include all AP models that can be managed by an Aruba

 mobility controller (MC) (e.g., 7000 Series (7005, 7008, 7010, 7024, 7030), 7200 Series (7205,

 7210, 7220, 7240, 7280), and 9000 Series (9004, 9012)).




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 Source: https://www.arubanetworks.com/assets/tg/TD_ArubaOS-8-Fundamental-Guide.pdf. In

 the Accused Products, WLAN functionality is distributed among Aruba mobility controller

 (control node) and the MC-managed APs. For example, MC-managed APs can be configured by

 a MC to implement (process) certain client-facing WLAN functions (including, for example,

 ClientMatch, Air Slice, and Radio Resource Management (802.11k)) that are a subset of complete

 functionality defined for the WLAN




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        57.    The Accused Products comprise “a single or plurality of control nodes (CN) for

 providing a subset or complete functionalities defined for the wireless local area network.” For




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 example, the Accused Products comprises one or more control nodes in the form of Aruba mobility

 controllers.




 The functionality is distributed among the Aruba mobility controller (‘531 CN) and the managed

 Aruba APs. For example, the Aruba mobility controllers are configured to provide certain network-

 facing WLAN functions that are a subset or complete functionalities defined for the WLAN (these

 network-facing functions include but are not limited to: AirMatch, Web Content Classification,

 and dynamic load balancing.




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        58.    The Accused Products comprise “a negotiation unit for the single or plurality of

 WAPs to dynamically negotiate with the control node for a secure connection and function split

 arrangement.” For example, the access points convey their capabilities to a mobility controller

 (control node) that will utilize this information to configure the network and establish a secure

 session. The discovery/response signaling occurs in part via a WAP negotiation.




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 The Accused Products include a secure connection between the control node (Aruba mobility

 controller) and WAPs (managed Aruba APs). Use of TLS/X.509 certificates involve a negotiation

 of the parameters of the secure connection.




 Further, the discovery and AP/network confirmation process involves the Aruba mobility

 controller and the Aruba AP negotiating a functional split arrangement (i.e. which functions are

 handled by the control node and WAPs respectively).




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        59.     The control node is configured such that it “negotiates with the single or plurality

 of WAPs using the negotiation unit and provides complementary functionality for the single or

 plurality of each of the WAPs to form a complete functionality defined for the wireless local area

 network according to a decision of the negotiation unit.” For example, the Aruba mobility

 controller (control node) provides complimentary functionality for the APs by, for example,

 providing the networking-facing functions used by the APs—this network-facing functionality

 forming a complete WLAN functionality with the APs’ client-facing functionality. Further,

 Functions of an Insight managed WLAN are split between those functions performed by the

 mobility controller and separate functions performed by the managed APs.




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 Separately, the Aruba mobility controller also provides complimentary functionality for the APs

 by, for example, managing the APs provisioning, configuration, and operation—this network wide

 management functionality forming a complete WLAN functionality with the AP-specific

 operational functionality (e.g., running a specific config, specific firmware, etc).




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        60.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        61.     At a minimum, HPE has known of the ’531 patent at least as early as the filing date

 of the complaint. In addition, HPE has known about the ’531 patent since at least August 19, 2022,

 when HPE was given access to a data room providing notice of its infringement.

        62.     On information and belief, since at least the above-mentioned date when HPE was

 on notice of its infringement, HPE has actively induced, under U.S.C. § 271(b), distributors,

 customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the Accused

 Products that include or are made using all of the limitations of one or more claims of the ’531

 patent to directly infringe one or more claims of the ’531 patent by using, offering for sale, selling,

 and/or importing the Accused Products. Since at least the notice provided on the above-mentioned

 date, HPE does so with knowledge, or with willful blindness of the fact, that the induced acts

 constitute infringement of the ’531 patent. HPE intends to cause, and has taken affirmative steps


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 to induce infringement by distributors, importers, customers, subsidiaries, and/or consumers by at

 least, inter alia, creating advertisements that promote the infringing use of the Accused Products,

 creating and/or maintaining established distribution channels for the Accused Products into and

 within the United States, manufacturing the Accused Products in conformity with U.S. laws and

 regulations, distributing or making available instructions or manuals for these products to

 purchasers and prospective buyers, testing wireless networking features in the Accused Products,

 and/or providing technical support, replacement parts, or services for these products to these

 purchasers in the United States.

        63.     In the alternative, on information and belief, since at least the above-mentioned date

 when HPE was on notice of its infringement, HPE has contributorily infringed, under U.S.C. §

 271(c), one or more claims of the ’531 patent. For example, HPE contributes to the direct

 infringement of such claims by distributors, customers, subsidiaries, importers, and/or consumers

 that use, import, purchase, or sell the Accused Products. To the extent that the Accused Products

 do not directly infringe one or more claims of the ʼ531 patent, such products contain instructions,

 such as source code, that are especially adapted to cause the Accused Products to operate in an

 infringing manner. Such instructions are specifically designed to cause the Accused Products to

 provide and utilize the Aruba Central management platform in an infringing manner and are a

 material part of the invention of the ʼ531 patent and are not a staple article of commerce suitable

 for substantial non-infringing use.

        64.     On information and belief, despite having knowledge of the ’531 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’531 patent,

 HPE has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. HPE’s infringing activities relative to the ’531 patent have been, and



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 continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,

 characteristic of a pirate, and an egregious case of misconduct beyond typical infringement such

 that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three times the amount

 found or assessed.

        65.     SPV has been damaged as a result of HPE’s infringing conduct described in this

 Count. HPE is, thus, liable to SPV in an amount that adequately compensates SPV for HPE’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT III
                      (INFRINGEMENT OF U.S. PATENT NO. 8,270,384)

        66.     Plaintiff incorporates the preceding paragraphs herein by reference.

        67.     SPV is the assignee of the ’384 patent, entitled “Wireless point that provides

 functions for a wireless local area network to be separated between the wireless point and one or

 more control nodes, and method for providing service in a wireless local area network having

 functions separated between a wireless point and one or more control nodes,” with ownership of

 all substantial rights in the ’384 patent, including the right to exclude others and to enforce,

 sue, and recover damages for past and future infringements.

        68.      The ’384 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’384 patent issued from U.S. Patent Application No.

 13/235,912.

        69.     HPE has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’384 patent in this judicial district and elsewhere in Texas

 and the United States.




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           70.   HPE designs, develops, manufactures, assembles and markets wireless access

 points that are configured to establish connections with a controller and exchange information

 about the separation of functions between themselves and the controller.

           71.   HPE directly infringes the ’384 patent via 35 U.S.C. § 271(a) by making, offering

 for sale, selling, and/or importing those Accused Products, their components and processes, and/or

 products containing the same that incorporate the fundamental technologies covered by the ’384

 patent.

           72.   For example, HPE infringes claim 1 of the ’384 patent via the Accused Products,

 which are configured to establish connections with a controller and exchange information about

 the separation of functions between themselves and the controller.

           73.   The Accused Products comprise a “wireless point that provides for functions for a

 wireless local area network to be separated between said wireless point and one or more control

 nodes” that satisfies the limitations of claim 1. For example, the Accused Products are configured

 to interface with Aruba Central management platform (via Aruba Central cloud controllers, each

 a control node) are wireless points.




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 As used herein, an “Aruba Central WiFi system” refers to the interfacing/deployment of one or

 more Aruba Central-managed APs with one or more Aruba Central cloud controllers. In an Aruba


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 Central WiFi system one or more Aruba Central-managed APs interface with one or more Aruba

 Central cloud controllers (each a control node). An Aruba Central WiFi system utilizes control

 traffic that flows between one or more Aruba Central cloud controllers (control node) and one or

 more cloud-managed HPE-Aruba wireless access points (each a wireless point).




 Aruba Central cloud controller (control node) provides network-facing functions used by the

 access points (e.g., provisioning and configuration). Similarly, the Aruba Central-managed APs

 provide separate client-facing functionality—in this way the APs provide for functions for a

 wireless local area network to be separated between said wireless point and one or more control

 nodes. Functions of an Aruba Central-managed WLAN are separated between those functions

 performed by the cloud controller (for example, gathering insights on all client devices connected

 to the network via different network components, and identifying client types and profiles) and




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 separate functions performed by the managed APs (for example, an AP enforces policies on a

 specific client, once the identity of the client is established).

         74.     The Accused Products comprise “a discovery unit configured to send a discovery

 request message to said one or more control nodes.” For example, in an Aruba Central WiFi

 system, an Aruba Central-managed AP uses its discovery unit to send a discovery request message

 to an Aruba Central cloud controller (said one or more control nodes), for example, using Aruba’s

 ADP protocol.




         75.     The Accused Products comprise “a selecting unit configured to select one control

 node of said one or more control nodes based on one or more discovery response messages sent to

 said wireless point from said one or more control nodes in response to said discovery request

 message, each of said one or more discovery response messages including information of functions

 offered by the associated control node of said one or more control nodes.” For example, the Aruba

 Central-managed APs select an Aruba Central cloud controller (control node) based on a received

 discovery response message. For example, during the AP discovery and adoption process, the AP


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 selects the control node based on the control node providing an encryption key and/or otherwise

 being authenticated over a secure connection (including via use of TLS/X.509).




 The functionality of HPE-Aruba’s hardware WLAN controller products provide evidence that

 controller-managed HPE-Aruba APs conduct a dynamic discovery and controller selection process

 using an Aruba-developed discovery algorithm (e.g., ADP). The discovery response message sent


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 by the control node includes security related information that is used by the Aruba Central-

 managed AP (wireless point) during the discovery and adoption process (i.e., to “select one control

 node”). This security related information is dependent on the type of connection the wireless point

 and control node are attempting to communicate over and supported capabilities of the devices

 themselves for purposes of authentication. For example, on information and belief, during a L3

 discovery over TLS the discovery response message includes information pertaining to a X.509

 certificate of the control node, said information including service names and IDs of services

 offered by the control node.




        76.     The Accused Products comprise “a session establishing unit configured to establish

 a secure session with said selected one control node.” For example, as part of the discovery and

 adoption process the Aruba Central managed AP establishes a secure session with the chosen

 control node. For example, after authenticating the Aruba Central cloud controller (control node)

 using its X.509 certificate the AP completes establishing a secure session with the control node

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 over HTTPS/TLS. Aruba Central also supports external authentication means, as shown in this

 slide.




          77.   The Accused Products comprise “a negotiation unit configured to exchange

 information about the functions to be separated between said selected one control node and said

 wireless point.” For example, the Aruba Central-managed AP uses its negotiation unit to exchange

 information about the functions to be separated between it and said selected one control node. For

 example, as shown below, Aruba Central’s Dynamic Segmentation feature enables the control

 node to provide the network-facing functions used by the APs, for example identifying client types

 and sharing that information with the APs, while the APs separately provide client-facing

 functionality, for example, enforcing policies on clients once the identity of the clients are

 established.




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        78.      The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        79.     At a minimum, HPE has known of the ’384 patent at least as early as the filing date

 of the complaint. In addition, HPE has known about the ’384 patent since at least April 19, 2012,

 when HPE was given access to a data room providing notice of its infringement.

        80.     On information and belief, since at least the above-mentioned date when HPE was

 on notice of its infringement, HPE has actively induced, under U.S.C. § 271(b), its distributors,

 customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the Accused

 Products that include or are made using all of the limitations of one or more claims of the ’384

 patent to directly infringe one or more claims of the ’384 patent by using, offering for sale, selling,

 and/or importing the Accused Products. Since at least the notice provided on the above-mentioned

 date, HPE does so with knowledge, or with willful blindness of the fact, that the induced acts

 constitute infringement of the ’384 patent. HPE intends to cause, and has taken affirmative steps

 to induce infringement by its distributors, importers, customers, subsidiaries, and/or consumers by

 at least, inter alia, creating advertisements that promote the infringing use of the Accused Products,

 creating and/or maintaining established distribution channels for the Accused Products into and

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 within the United States, manufacturing the Accused Products in conformity with U.S. laws and

 regulations, distributing or making available instructions or manuals for these products to

 purchasers and prospective buyers, testing and certifying features related to wireless networking

 features in the Accused Products, and/or providing technical support, replacement parts, or

 services for these products to these purchasers in the United States.

        81.      In the alternative, on information and belief, since at least the above-mentioned

 date when HPE was on notice of its infringement, HPE has contributorily infringed, under U.S.C.

 § 271(c), one or more claims of the ’384 patent. For example, HPE contributes to the direct

 infringement of such claims by distributors, customers, subsidiaries, importers, and/or consumers

 that use, import, purchase, or sell the Accused Products. To the extent that the Accused Products

 do not directly infringe one or more claims of the ʼ384 patent, such products contain instructions,

 such as source code, that are especially adapted to cause the Accused Products to operate in an

 infringing manner. Such instructions are specifically designed to cause the Accused Products to

 exchange information about the functions to be separated between the control node and the access

 point in an infringing manner and are a material part of the invention of the ʼ384 patent and are

 not a staple article of commerce suitable for substantial non-infringing use.

        82.      On information and belief, despite having knowledge of the ’384 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’384 patent,

 HPE has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. HPE’s infringing activities relative to the ’384 patent have been, and

 continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,

 characteristic of a pirate, and an egregious case of misconduct beyond typical infringement such




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 that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three times the amount

 found or assessed.

        83.     SPV has been damaged as a result of HPE’s infringing conduct described in this

 Count. HPE is, thus, liable to SPV in an amount that adequately compensates SPV for HPE’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                             COUNT IV
                      (INFRINGEMENT OF U.S. PATENT NO. 8,467,723)

        84.      Plaintiff incorporates the preceding paragraphs herein by reference.

        85.     SPV is the assignee of the ’723 patent, entitled “Base Station Apparatus, Mobile

 Apparatus, and Communication Method,” with ownership of all substantial rights in the ’723

 patent, including the right to exclude others and to enforce, sue, and recover damages for past

 and future infringements.

        86.     The ’723 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’723 patent issued from U.S. Patent Application No.

 13/585,621.

        87.     HPE has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’723 patent in this judicial district and elsewhere in Texas

 and the United States.

        88.     HPE designs, develops, manufactures, assembles and markets devices configured

 to connect to wireless cellular networks.

        89.     HPE directly infringes the ’723 patent via 35 U.S.C. § 271(a) by making, offering

 for sale, selling, and/or importing those Accused Products, their components and processes, and/or




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 products containing the same that incorporate the fundamental technologies covered by the ’723

 patent.

           90.   For example, HPE infringes claim 9 of the ’723 patent via the Accused Products

 that perform inter-RAT handovers and are configured to connect wireless cellular networks.

           91.   The Accused Products implement the “communication method performed by a

 mobile station apparatus that belongs to a first area, which is covered by a base station apparatus

 employing a first Radio Access Technology (RAT), the first area including part or entirety of a

 second area which is covered by a host station employing a second RAT different from the first

 RAT” of claim 9. Each of the Accused Products is a mobile station that performs inter-RAT

 handovers, where the mobile station’s radio connection is switched from a first base station (e.g.,

 LTE eNB) that employs a first RAT (e.g., LTE) to a second base station (e.g., RNC/NodeB) that

 employs a second (and different) RAT (e.g., GERAN/UTRAN). RAT handover scenarios include

 handovers between E-UTRAN (LTE) and UTRAN or GERAN (both 3G).

           92.   The Accused Products transmit, to the base station apparatus, notification

 information while the mobile station apparatus is using the first RAT when the mobile station

 apparatus detects that the mobile station apparatus is located in the second area while using the

 first RAT. For example, the Accused Products include a transmitter (e.g., an RF transceiver

 coupled to a RF front end and an antenna) to transmit notification information, e.g., measurement

 information, to the E-UTRAN eNB (i.e., the base station) which is using a first RAT (e.g., LTE).

 Such a transmission occurs when the mobile station detects that it is located in a second area (i.e.,

 within a 3G radio cell while still connected to the LTE base station).

           93.   The Accused Products perform a handover based on traffic control by the base

 station apparatus using the notification information. For example, the Accused Products have a



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 controller that is responsive to a handover message received from the LTE eNB, based on the

 notification information, i.e., the measurement information.

        94.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        95.     At a minimum, HPE has known of the ’723 patent at least as early as the filing date

 of the complaint. In addition, HPE has known about the ’723 patent since at least April 19, 2022,

 when HPE was given access to a data room providing notice of its infringement. Moreover, HPE

 has been on notice of the ’723 patent as a result of previous lawsuits filed by the Plaintiff against

 competitors of HPE and other relevant market participants, such as TCL, Acer, ASUS, and LG.

        96.     On information and belief, since at least the above-mentioned date when HPE was

 on notice of its infringement, HPE has actively induced, under U.S.C. § 271(b), its distributors,

 customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the Accused

 Products that include or are made using all of the limitations of one or more claims of the ’723

 patent to directly infringe one or more claims of the ’723 patent by using, offering for sale, selling,

 and/or importing the Accused Products. Since at least the notice provided on the above-mentioned

 date, HPE does so with knowledge, or with willful blindness of the fact, that the induced acts

 constitute infringement of the ’723 patent. HPE intends to cause, and has taken affirmative steps

 to induce infringement by its distributors, importers, customers, subsidiaries, and/or consumers by

 at least, inter alia, creating advertisements that promote the infringing use of the Accused Products,

 creating and/or maintaining established distribution channels for the Accused Products into and

 within the United States, manufacturing the Accused Products in conformity with U.S. laws and

 regulations, distributing or making available instructions or manuals for these products to

 purchasers and prospective buyers, testing and certifying features related to the wireless



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 networking features in the Accused Products, and/or providing technical support, replacement

 parts, or services for these products to these purchasers in the United States.

        97.     In the alternative, on information and belief, since at least the above-mentioned date

 when HPE was on notice of its infringement, HPE has contributorily infringed, under U.S.C. §

 271(c), one or more claims of the ’723 patent. For example, HPE contributes to the direct

 infringement of such claims by distributors, customers, subsidiaries, importers, and/or consumers

 that use, import, purchase, or sell the Accused Products. To the extent that the Accused Products

 do not directly infringe one or more claims of the ʼ723 patent, such products contain instructions,

 such as source code, that are especially adapted to cause the Accused Products to operate in an

 infringing manner. Such instructions are specifically designed to cause the Accused Products to

 perform LTE inter-RAT handovers in an infringing manner and are a material part of the invention

 of the ʼ723 patent and are not a staple article of commerce suitable for substantial non-infringing

 use.

        98.      On information and belief, despite having knowledge of the ’723 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’723 patent,

 HPE has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. HPE’s infringing activities relative to the ’723 patent have been, and

 continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,

 characteristic of a pirate, and an egregious case of misconduct beyond typical infringement such

 that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three times the amount

 found or assessed.

        99.      SPV has been damaged as a result of HPE’s infringing conduct described in this

 Count. HPE is, thus, liable to SPV in an amount that adequately compensates SPV for HPE’s



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 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                            CONCLUSION

        100.      Plaintiff SPV is entitled to recover from HPE the damages sustained by Plaintiff as

 a result of HPE’s wrongful acts, and willful infringement, in an amount subject to proof at trial,

 which, by law, cannot be less than a reasonable royalty, together with interest and costs as fixed

 by this Court.

        101.      Plaintiff has incurred and will incur attorneys’ fees, costs, and expenses in the

 prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

 within the meaning of 35 U.S.C. § 285, and Plaintiff is entitled to recover its reasonable and

 necessary attorneys’ fees, costs, and expenses.

                                           JURY DEMAND

        102.      Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

 Civil Procedure.

                                       PRAYER FOR RELIEF

        103.      Plaintiff respectfully requests that the Court find in its favor and against HPE, and

 that the Court grant Plaintiff the following relief:

        1. A judgment that HPE has infringed the Asserted Patents as alleged herein, directly

            and/or indirectly by way of inducing infringement of such patents;

        2. A judgment for an accounting of all damages sustained by Plaintiff as a result of the

            acts of infringement by HPE;




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       3. A judgment and order requiring HPE to pay Plaintiff damages under 35 U.S.C. § 284,

          including up to treble damages as provided by 35 U.S.C. § 284, and any royalties

          determined to be appropriate;

       4. A judgment and order requiring HPE to pay Plaintiff pre-judgment and post-judgment

          interest on the damages awarded;

       5. A judgment and order finding this to be an exceptional case and requiring HPE to pay

          the costs of this action (including all disbursements) and attorneys’ fees as provided by

          35 U.S.C. § 285; and

       6. Such other and further relief as the Court deems just and equitable.




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 Dated: January 10, 2023                        Respectfully submitted,
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